Case 3:12-cv-00041-SRU Document 1-1 Filed 01/09/12 Page 1 of 4

EXHIBIT A
Case 3:12-cv-00041-SRU Document 1-1 Filed 01/09/12 Page 2 of 4

MAR-i1-2016 16:i4 JACKSON HARRIS BURL HUBER BEG 774 Sre4 P.@2

TERM NOTE
$125,000 January 09, 2008

For value received, the undersigned ("Borrower"), jointly and severally, promises to pay
to Stephen J. Burlingame, ("Lender"), or order, the principal amount of One Hundred Twenty-
Five Thousand and 00/100 ($125,000) Dollars on or before April 30, 2008 (“Maturity”), in Four
(4) consecutive monthly installments of interest only, as follows: $1,562.50 on January 30,
2008, and the same amount on the same day of each month thereafter until this Note is fully
paid, with interest from the date heteof on the said principal balance from time to time
outstanding at a per annum rate equal to fifteen (15.00%) percent payable monthly in arrears on
the thirtieth (30th) day of each month. Both parties acknowledge that a so-called balloon
payment will be due upon Maturity.

ae os

4

Payments shall be payabie at Lender's main office of 245 Main Street, Danielson CT 06239 in
lawful money of the United States of America without set-off, deduction or counterclaim. This

Note may be prepaid in whole or in part without penalty.

At the option of the holder, this Note shall become immediately due and payable without notice
or demand upon the occurtence at any time of any of the following events of default: (1)
default of any liability, obligation or undertaking of the Borrower, hereunder or otherwise,
including failure to pay in full and when due any installment of principal or interest; (2) the
death of the Borrower or of any endorser or guarantor hereof; (3) the institution by or against
the Borrower or any endorser or guarantor hereof of any proceedings under the bankruptcy Code
__11 USC §101 et seq. or any other law in which the Borrower-or any endorser or guarantor hereof
~~—=—=<=-$salleged to be'insolvent or unable to pay their respective debts as they mature or the making by
the Borrower or endorser or guarantor hereot of an assignment for the benefit of creditors or the
granting by the Borrower or endorser or guarantor hereof of a trust mortgage for the benefit of
creditors, (4) the service upon the holder hereof of a writ in which the holder is named as
trustee of the Borrower or of any endorser or guarantor hereof; or (5) the occurrence of an event
of default under or the termination for any reason of the mortgage on Atwells Avenue,
Providence, securing this Note or of any other instrument delivered to the Lender evidencing or
securing this Note.

Any payments received by the Lender on account of this Note prior to deraand shall be applied
first, to any costs, expenses, or charges then owed to the Lender by the Borrower, second, to
accrued and unpaid interest hereof, and third, to the unpaid principal balance hereof. Any
payments so received after demand shall be applied in such manner as the Lender may
determine,
Case 3:12-cv-00041-SRU Document 1-1 Filed 01/09/12 Page 3 of 4
MAR-11-2818 16:15 JACKSON HARRIS BURL HUBER 862 774 S784 PS

The Borrower represents to the Lender that the proceeds of this Note will not be used for
personal, family, or household purposes.

No delay or omission on the part of the holder in exercising any right hereunder shall operate as
a waiver of such right or of any other right of such holder, nor shall any delay, omission ot
waiver on any one occasion be deemed a bar to or waiver of the same or any other right on any
future occasion. The Borrower and every other maker and every endorser or guarantor of this
Note, regardless of the time, order or place of signing, waives presentment, demand, protest and
hotices of every kind and assents to any extension or postponement of the time of payment or
any other indulgence, to any substitution, exchange or release of collateral, and to the addition
or release of any other party or person primarily or secondarily liable. The Borrower and each
endorser and guarantor of this Note waive any rights to any homestead exemptions on record as
of the date of this Note.

The Bortower and each endorser and guarantor of this Note agree to pay, upon demand, costs of
collection of the principal and interest of this Note, including without limitation reasonable
altorneys' fees, If any payment due under this Note is unpaid for Ten (10) days or more a‘ter the
due date thereof, the Borrower shail pay, in addition to any other sums due under this Note, a
late charge equal to Five (5%) percent of the amount of such payment.

This Note shall be binding upor the Borrower and upon his respective heirs, successors, assigns,
and representatives, and shall inure to the benefit of the Lender and his heirs, and assigns,

The liabilities of the Borrower and any endorser or guarantor of this Note are joint and several:
provided, however, the release by the Lender of the Borrower or any one or more endorser or
guarantor shall not release any other person obligated on account of this Note.

A photographic or other reproduction of this Note may be made by the Lender, and any such
reproduction shall be admissible in evidence with the same effect of the original itself in any
Judicial or administrative proceeding whether or not the original is in existence.

EACH BORROWER, ENDORSER AND GUARANTOR AND LENDER EACH HEREBY
KNOWINGLY, VOLUNTARILY AND INTENTIONALLY, AND AFTER AN
OPPORTUNITY TO CONSULT WITH LEGAL COUNSEL, WAIVE ANY AND ALL
RIGHTS TO A TRIAL BY JURY IN ANY ACTION OR PROCEEDING IN CONNECTION
WITH THIS NOTE, THE OBLIGATIONS, IN ALL MATTERS CONTEMPLATED HEREBY
AND DOCUMENTS EXECUTED IN CONNECTION HEREWITH. EACH BORROWER,
ENDORSER AND GUARANTOR CERTIFIES THAT NEITHER THE LENDER NOR ANY
OF HIS REPRESENTATIVES, AGENTS OR COUNSEL HAS REPRESENTED,
EXPRESSLY OR OTHERWISE, THAT THE LENDER WOULD NOT IN THE EVENT OF
ANY SUCH PROCEEDING, SEEK TO ENFORCE THIS WAIVER OF RIGHT TO TRIAL
BY JURY.

This Note is delivered to the Lender at its offices in Connecticut, shall be governed by the laws
of The State of Rhode Island, and shall take effect as a sealed instrument.
Case 3:12-cv-00041-SRU Document 1-1 Filed 01/09/12 Page 4 of 4

MAR-11-2618 16:15 JACKSON HARRIS BURL HUBER eb V4 Sr3a4 P. 4

WITNESS: MAKER:

LLL

Re& Gallant, Personal Guarantor

plahoXr

Piartien Eerhart, Personal Guarantor

Atwells Avenue Trust

By: Ady, Qa ere

artien Eerhart, its Trustee
